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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------x
In re

SKAT TAX REFUND SCHEME LITIGATION                                                 l 8-md-2865 (LAK)

This paper applies to: 18-cv-5053 (LAK).

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                                            MEMORANDUM OPINION

                                        Appearances:

                                                  William R. Maguire
                                                  Marc A. Weinstein
                                                  Sarah L. Cave
                                                  John T. McGoey
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LEWIS A. KAPLAN, District Judge.

                    Danish companies are required by law to withhold on account of anticipated Danish

tax liability a percentage of dividends distributed to shareholders. The withholding tax may be

refunded to some U.S. shareholders in certain circumstances under a double taxation treaty. This

is one of more than a hundred cases in which the Kingdom of Denmark claims that the defendants

defrauded it of by submitting tax refund claims in which they falsely claimed to own stocks in

Danish companies that had paid dividends net of withholding tax. In fact, the complaints allege, the

defendants did not own those stocks and had no taxes withheld from any dividends. Nevertheless,

the defendants allegedly obtained many millions of dollars in tax refunds from the Danish treasury
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under these allegedly false and fraudulent pretenses. This case is before the Court on plaintiff

SKAT' s motion to dismiss counterclaims filed by defendants Goldstein Law Group PC 40 l (K) Profit

Sharing Plan (the "Goldstein Plan") and Sheldon Goldstein (collectively with the Goldstein Plan,

"Goldstein") [DI-113 1 ].



                                                  Facts2

                The Goldstein Plan is a Florida pension plan exempt from taxation under the Intemal

Revenue Code. 3 Its sole trustee is Sheldon Goldstein. 4 Mr. Goldstein and the Goldstein Plan allege

that the Plan maintained a brokerage account with ED&F Man Capital Markets, a broker-dealer

headquartered and registered in England. 5 They allege also - though only in the following, indirect

sense - that ED&F Man has stated that it traded Danish securities for the benefit of 3 6 pension plans,

including the Goldstein Plan. 6

                A treaty between the United States and Denmark "provides for the refund of tax

withheld on dividend payments to shareholders that," like the Goldstein Plan, "are U.S. pension



                All docket references are to the master docket, No. l 8-md-2865 (LAK) (S.D.N.Y.).
       2

                Unless otherwise noted, the following facts are taken from Goldstein's counterclaim and
                are presumed true.
       3

                Counterclaim ,r,r 1-2 [DI-101].
       4

                Id. ,r3.
       5

                Id.   ,r,r 6, 28.
       6

                Id.   ,r,r 34, 46.
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plans [that] are exempt from taxation."7 Goldstein alleges that it purchased Danish stock with the

expectation that it would receive these refunds. 8 According to Goldstein, ED&F Man filed nine

applications for tax refunds on Goldstein's behalf. 9 SKAT granted the first eight but denied the

ninth. 10 In Goldstein's telling, this was because SKAT discovered a "scheme" whereby one Sanjay

Shah helped foreign pension plans file fraudulent tax refund claims. 11 Goldstein alleges that it had

nothing to do with Shah or this scheme and that SKAT's denial of its ninth claim was unlawful. 12

Although it alleges no supporting facts, it asserts "[u]pon information and belief [that] SKAT

commenced litigation against hundreds of U.S. pension plans without bothering to investigate

whether" they had any connection to the alleged Shah scheme. 13 This case allegedly is among them.

               SKAT here alleges that Goldstein fraudulently claimed tax refunds from the Danish

government by misrepresenting that it owned Danish stock. 14 It asserts claims for fraud, aiding and

       1

               In re SKAT Tax Refund Scheme Litig., 356 F. Supp. 3d 300, 308 (S.D.N.Y. 2019); see
               Counterclaim ,i,i 41, 65.
       8

               Counterclaim ii 66.
       9

               Id. ,i 46.
       10

               Id. ,i,i 53-55.
       II

               Id ,i,i 54-55.
       12

               Id. ,i,i 55, 61-62.
       13

               Id. ,i 70. Put differently, Goldstein alleges that "SKAT decided that the existence of one
               allegedly-fraudulent refund scheme must mean that no U.S. pension plan rightfully owned
               shares or received dividends from Danish companies." Id. ,i 69.
       14

               Id. ,i,i 16-17.
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abetting fraud, payment by mistake, unjust enrichment, money had and received, and negligent

misrepresentation. 15 Not long ago, I denied motions by Goldstein and similarly situated defendants

to dismiss SKAT' s complaints. 16

                As noted, this is not the only proceeding involving Goldstein and SKAT. Goldstein

alleges that "SKAT is pursuing multiple actions and investigations against [Goldstein] arising out

of the same transactions in Denmark and, upon information and belief, other jurisdictions." 17 The

one such foreign proceeding that Goldstein specifies is a Danish administrative appeal involving

SKAT and the Goldstein Plan. Goldstein offers little detail about that proceeding.· But this Court

already has described it on a general level. In a prior opinion, I noted that many of the defendants

in this multidistrict 1i tigation took administrative appeals from SKAT' s determination letters finding

that they wrongfully claimed ownership of Danish stock and, hence, were not entitled to refunds

predicated on their asserted share ownership. 18 I found that "the primary if not only issue [in the

Danish appeals] is whether the defendants [ such as Goldstein] owned ... shares [of Danish stock],

or owned and lent them to a third party." 19

                Goldstein alleges that this lawsuit and the Goldstein Plan's Danish tax appeal are


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               Declaration of Sarah L. Cave, Ex. 3 ,i,i 50-80 [DI-114]. SKAT's complaint against
               Goldstein made no mention of Mr. Shah.
        16

               In re SKAT, 356 F. Supp. 3d at 306.
        17

               Counterclaim ,i 84.
        18

               In re SKAT, 356 F. Supp. 3d at 318.
        19

               Id. at 319.
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parallel proceedings. In its view, "SKAT is attempting [in both proceedings] to collect [the] eight

refunds" it issued to Goldstein. 20 Goldstein alleges also that both matters involve "the same

allegations," 21 "the exact same conduct,"22 and even "the same causes of action.''23

                Based on the foregoing allegations, Goldstein filed a counterclaim asserting four

claims. Count 1 asks for a declaration that the decisions of this Court are binding on SKAT in all

jurisdictions and venues in the world. 24 Goldstein alleges that it "will suffer substantial harm" if it

is forced to defend itself in cases involving "the exact same conduct"25 and that will "give[] rise to

likely conflicting outcomes."26

                Count 2 asks for an injunction "prohibiting SKAT from taking any action that would

impair or otherwise impact matters that SKAT has submitted for determination to this Court. ,m The

injuries Goldstein seeks to prevent are, as above, the cost of participating in multiple lawsuits and




        20

                Counterclaim 'ii 72.
        21

                Id 'if 74.
        22

                Id 'ii 85.
        23

                Id. 'ii 86.
        24

                Id. 'ii 79.
        25

                Id.   ,r 85.
        26

                Id 186.
        27

                Id. 191.
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the risk of being subject to conflicting judgments. 28

               Count 3 is captioned "Recovery of Denied Claims." Goldstein alleges only that it is

entitled to recover the ninth tax refund because SKAT "improper[ly]" refused to disburse it. 29

               Count 4 rests on alleged promissory estoppel. Goldstein claims that "for years, SKAT

refunded Danish tax paid to all U.S. pension plans that submit[ted] the documentation requested by

SKAT"30 and that Goldstein purchased shares of Danish companies and submitted reclaim

applications "[i]n reliance on SKAT's practice of paying all properly-documented claims."31

Goldstein likewise refers to the U.S.-Denrnark treaty that it believes makes it exempt from paying

tax on dividends paid on Danish stock. 32 After stating these points, Goldstein asserts that SKAT

should be "estopped from demanding that the Goldstein Plan pay tax on the dividends."33 It asserts

also that SKAT must disburse the ninth tax refund. 34




       28

               Id ,i,i 88-89.
       29

               Id. ,i,i 93-94.
       30

               Id.   ,r 96.
       31

               Id.   ,r,r 97-98.
       32

               Id.   ,r 100.
       33

               Id. iJ 101.
       34

               Id.   ,r 102.
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                                               Discussion

I       Common Law Claims

                Counts 3 and 4 seek relief under common law. SKAT is based in Denmark and the

counterclaim implies that its relevant conduct took place there. Goldstein is based in Florida and

invested through ED&F Man, which is based in England. Although none of the facts giving rise to

these counterclaims has any apparent connection to New York, both parties assume that New York

law applies, 35 Therefore I apply the law of the forum-New York. 36



        A.      "Recovery ofDenied Claims"

                Stating an actionable claim in federal court requires more than demanding relief. To

survive a motion to dismiss under Rule 12(b)(6), a party must "state a claim upon which relief can

be granted. ,m A plaintiff's entitlement to relief depends on the existence of both material facts and

a legally enforceable right - i.e., a right of action.

                Count 3 is captioned "recovery of denied claims." The remedy Goldstein demands

is clear: it wants SKAT to disburse the ninth tax refund. But Goldstein has not explained why it has

a right to this remedy. Neither its COlmterclaim nor its opposition to this motion cites any provision

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                SKAT does so explicitly and only for the purposes of this motion. See SKAT Mem. 16
                n.12 (assuming New York law applies without conceding the point and reserving its right
                to litigate the issue at a later time). Goldstein does so implicitly by citing to New York
                cases in stating a rule for promissory estoppel. Goldstein Mem. 19-20.
        36

                See Johnson v. Priceline.com, Inc., 711 F.3d 271,276 (2d Cir. 2013) ("[C]ourts sitting in
                diversity may properly rely on the forum state's law where neither party asserts that another
                jurisdiction's law meaningfully differs.").
        37

                FED. R. Crv. P. 12(b)(6) (emphasis added).
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of law or judicial decision, in New York or elsewhere, recognizing a cause of action for "recovery

of denied claims." I already have informed Goldstein, and all the parties in this MDL, thatthis Court

"is not required, and does not propose, to do the [parties'] homework for them and scour [the] law

for a provision that may or may not entitle [them] to a [favorable decision]. "38 Goldstein has stated

a claim, but not one upon which relief can be granted given its present form.

                Goldstein argues that its claim should survive nonetheless because, under Rule 8 of

the Federal Rules of Civil Procedure, "a pleading need only 'give the defendant fair notice of what

the plaintiffs claim is and the grounds upon whichitrests."'39 But Goldstein has not given SKAT

notice of the grounds upon which its claim rests. "A pleading that states a claim for relief must

contain ... a short and plain statement of the claim showing that the pleader is entitled to relief"40

                Apparently conceding its failure to identify a right of action, Goldstein argues that

its claim should survive because it "expect[ s]" that discovery will reveal causes of action for "unjust

enrichment, money had and received, breach of contract, breach of the covenant of good faith and

fair dealing, and negligence. " 41 These causes of action are not asserted in the counterclaim, and even

       38

               In re SKAT, 356 F. Supp. 3d at 316. Although Goldstein's defense of Count 3 in its
               opposition memorandum is difficult to understand, it appears to argue that the claim should
               survive because it include the phrase "as a resu It of the improper denial of this Reclaim
               Application" in estimating the damages that Goldstein believes it should recover. Goldstein
               Mem. 22 ( quoting Counterclaim,r 94). All this language does is beg the same, unanswered
               question of why the denial was "improper." It is Goldstein's duty, rather than this Court's,
               to propose an answer to that question.
       39

               Goldstein Br. 22 (quoting Swierkiewicz v. Sorema N.A., 534 U.S. 506, 513 (2002) (citing
               FED. R. CIV. P. 8(a))).
       40

               FED. R. CIV. P. 8(a)(2) (emphasis added).
       41

               Goldstein Mem. 23.
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in its memorandum Goldstein has offered no detail about them. I decline to consider these

unasserted theories of liability based on an expectation rather than allegations of fact that, if proven,

would entitle Goldstein to relief.



        B.      Promissory Estoppel

                Unlike "recovery of denied claims," promissory estoppel is a real theory of liability

in New York. "A cause of action for promissory estoppel under New York law requires the plaintiff

to prove three elements: 1) a clear and unambiguous promise; 2) reasonable and foreseeable reliance

on that promise; and 3) injury to the relying party as a result of the reliance."42

                Goldstein alleges that SKAT for many years had a practice of paying tax refunds to

all U.S. pension plans that filed properly documented claims. 43 It alleges also that it "was exempt

from all income tax levied . . . [by] Denmark" under a treaty between the United States and

Denmark. 44 Goldstein characterizes SKAT's practice and the U.S.-Denmark treaty as "prnmises"

and claims it relied on them in choosing to invest in Danish stock. It asserts that SKAT therefore

is estopped from demanding that Goldstein pay the withheld tax on the other eight refund claims. 45

                SKAT's alleged practice of complying with the U.S.-Denmark treaty's refund




       42

               Kaye v. Grossman, 202 F.3d 611,615 (2d Cir. 2000).
       43

                Counterclaim ,r 97.
       44

               Id.   ,r 100.
       45

               Jd.   ,r 101.
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requirement is not a "clear and unambiguous promise. "46 Goldstein has pointed to no authority, and

I am aware of none, holding that a government agency's pattern of engaging in legally required

behavior on the basis of taxpayer submissions that later turn out to be fraudulent constitutes a

"promise" for the purposes of a promissory estoppel claim.



11      Claims for Equitable Relief

       A.      Injunctive Relief

               Goldstein seeks preliminary and permanent injunctions "prohibiting SKAT from

taking any action that would impair or otherwise impact matters that SKAT has submitted for

detennination to this Court. "47 The parties both describe this as an anti-suit injunction, or one that

prevents a patty from commencing or pursuing parallel litigation in foreignjurisdictions. 48

       46

               Elsewhere, Goldstein refers offhandedly to "SKAT's promise to refund dividend taxes to
               U.S. pensions" in describing the terms of the U.S.-Denmark treaty. Id. ,i 66. According to
               SKAT' s memorandum, this language qualifies as an allegation that SKAT made a clear and
               unambi gu ous promise to Goldstein. See Goldstein Mem. 20. Unlike "Beetlejuice," saying
               the word "promise" is not enough to make the desired thing appear. It is impossible to infer
               from the counterclaim that SKAT clearly and unambiguously promised Goldstein that it
               would refund any taxes to which it was entitled.
       47
               Counterclaim ,191.
       48

               See id. ,i,i 87-91 (explaining that the need for the injunction arises from the SKAT's
               "pursui[t of] its claims in multiple jurisdictions," the likelihood of"conflicting outcomes,"
               and the risk of "substantial harm if SKAT pursues these foreign actions while prosecuting
               its claims before this Court"). One perhaps could characterize this injunction as an anti­
               enforcement injunction to the limited extent that, in addition to enjoining foreign suits, it
               might enjoin SKAT from enforcing any judgment it receives in another court (in spite of,
               one would think, the anti-suit component). Cf Chevron Corp. v. Naranjo, 667 F.3d 232,
               243 (2d Cir.2012) (distinguishing between anti-suit and anti-enforcement injunctions). As
               both parties characterize this as an anti-suit injunction and neither argues that it would have
               an anti-enforcement component, I do not consider this possibility here. In any event, as
               explained below, an injunction of any character is inappropriate for several reasons.
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               To begin, the injunction claim is too vague. A party seeking a preliminary injunction

must demonstrate "( 1) irreparable harm in the absence ofthe injunction and (2) either (a) a likelihood

of success on the merits or (b) sufficiently serious questions going to the merits to make them a fair

ground for litigation and a balance of hardships tipping decidedly in the movant's favor."49 Based

on Goldstein's pleading, the Court is uncertain exactly what Goldstein wants to enjoin SKAT from

doing. This lack of clarity prevents the Court from meaningfully assessing whether Goldstein has

a likelihood of success on the merits or whether sufficiently serious merits questions warrant

preliminary relief.

               To the extent Goldstein is seeking an anti-suit injunction, it additionally must satisfy

the factors laid out in the Second Circuit's China Trade 50 decision. 51              First, two threshold

requirements must be met: "(l) the parties must be the same in both matters, and (2) resolution of

the case before the enjoining court must be dispositive of the action to be enjoined."52 A domestic

judgment cannot be "dispositive" of a foreign action unless the foreign court would recognize it. 53


       49

               MyWebGrocer, LLC v. Hometown Info, Inc., 375 F.3d 190, 192 (2d Cir.2004).
       50

               China Trade & Dev. Corp. v. M V Choong Yong, 837 F.2d 33 (2d Cir. 1987).
       51

               See In re Millenium Seacarriers, Inc., 458 F.3d 92, 97-98 (2d Cir. 2006); see also Software
               AG, Inc. v. Consist Software Solutions, Inc., 323 F. App'x 11, 12 ("A preliminary anti-suit
               injunction may be entered only if the multi-factor test set forth in [China Trade] and the
               ordinary test for a preliminary injunction are both satisfied .... " (citations omitted)).
               Courts apply this doctrine when assessing requests for preliminary and permanent anti-suit
               injunctions. In re Millenium Seacarriers, 458 F.3d at 97.
       52

               China Trade, 837 F.2d at 36.
       53

               The Second Circuit has not stated this rule explicitly, but two of its leading opinions on
               anti-suit injunctions presume it to be true. See id. at 37 (implying that the resolution of the
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If these threshold requirements are met, courts then look to five additional factors54 : "(1) frustration

of a policy in the enjoining forum; (2) the foreign action would be vexatious; (3) a threat to the

issuing comt's in rem or quasi in rem jurisdiction; (4) the proceedings in the other forum prejudice

other equitable considerations; or ( 5) adjudication of the same issues in separate actions would result

in delay, inconvenience, expense, inconsistency, or a race to judgment."55 Of these factors, the first

and third are the most important. 56 "[P]arallel proceedings on the same in personam claim ordinarily


               domestic dispute cannot be dispositive of the foreign dispute when "there is some question
               as to whether the [foreign] courts would recognize [the domestic] judgment"); Karaha
               BodasCo. v. PerusahaanPertambanganMinyakDan Gas Bumi Negara, 500 F.3d 111,121
               (2d Cir. 2007) ("We agree with KBC that the federal judgments satisfy the China Trade
               requirement because the Award, and the federal judgments confirming and enforcing it,
               actually decided the claims raised in the Cayman Islands action. We also conclude that the
               New York Convention [ requiring courts ofparticipating nations to recognize certain foreign
               judgments] permits the federal judgments to be treated as 'dispositive' of the Cayman
               Islands action."). The opposite conclusion - that a domestic judgment could be dispositive
               of a foreign dispute where the foreign court would not recognize it - would make little
               sense. The China Trade factors help ensure that courts think twice before exercising a
               remedy that risks disrupting international comity. See 837 F.2d at 36 (emphasizing "due
               regard to the interests of comity" in weighing the propriety of an anti-suit injunction); LAIF
               X SPRL v. Axtel, S.A. de C. V., 390 F.3d 194, 200 (2d Cir. 2004) ("Principles of comity
               weigh heavily in the decision to impose a foreign anti-suit injunction." (citation omitted)).
               The remedy has no effect, and factors such as protecting jurisdiction or preventing
               prejudice become trivial, when the foreign court will refuse to recognize the jud gment.
       54

               Whether these factors are discretionary or mandatory is unclear. China Trade referred to
               them as "suggested." 837 F.2d at 35 (citation omitted). And a later decision relying on
               China Trade repeatedly referred to them as "discretionary." Karaha Bodas, 500 F.3d at
               120 ("the discretionary China Trade factors); id. ("the discretionary factors under China
               Trade"); id at 126 ("the discretionary factors set forth in China Trade"). But elsewhere,
               that decision stated that "courts are directed to consider" these factors. Id at 119 (quoting
               Ibeto Petrochemical Industries Ltd. v. MIT Beffen, 415 F.3d 56, 64 (2d Cir. 2007)). And
               a more recent Second Circuit decision stated that a court "must ... examine [the] five
               factors." Hapag-LloydAktiengesellschaftv. U.S. Oil Trading LLC, 814 F.3d 146, 155 (2d
               Cir. 2016). Whether by mandate or discretion, I find it proper to apply the factors here.
       55

                China Trade, 837 F.2d at 35.
       56

               Karaha Bodas, 500 F.3d at 126.
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should be allowed to proceed simultaneously, at least until a judgment is reached in one which can

be pled as res judicata in the other. "57 For that reason, "an anti-foreign-suit injunction should be used

sparingly, and should be granted only with care and great restraint.''58

                The parties involved in this dispute, the Danish appeal, and the possible future

lawsuits are the same: SK.AT and Goldstein. 59 And resolving SKAT's fraud claims may require a

determination of at least one apparent issue in Denmark, which is whether Goldstein owned the

shares of Danish stock it claimed in its refund applications to have owned. 60 Goldstein does not,

however, assert that Denmark's courts would recognize a judgment from this Court resolving the

ownership issue. In fact, it asserts that "Denmark[] refus[es] to recognize U.S. judgments."61 Its

failure to argue that any foreign court would recognize a judgment of this Court forecloses an

inference that such a judgment would be "dispositive" of a foreign action.62

                Even if the threshold requirements for an anti-suit injunction were met, the five

        57

                China Trade, 837 F.2d at 36 (quoting Laker Airways Ltd. v. Sabena, Belgian World
                Airlines, 731 F.2d 909, 926-27 (D.C. Cir. 1984)).
        58

                Id. (citations and quotation marks omitted).
        59

                Mr. Goldstein is not a party to the Danish tax appeal, although the Goldstein Plan is. As
                SKAT does not argue that this difference is in relevant to threshold requirement that the
                parties be the same, there is no need to reach that question.
        60

                In re SKAT, 356 F. Supp. 3d at 319 (noting that this appears to be "the primary if not only
                issue" in Denmark).
        61

                Goldstein Mem. 25. I express no opinion on whether this assertion is correct.
        62

                I decline to consider whether forums other than Denmark would recognize a judgment of
                this Court, as Goldstein has not specified any other forum where an action is pending or
                may one day be pending between it and SKAT.
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additional factors counsel strongly against such relief. Goldstein has pointed to no U.S. policy that

would be frustrated by allowing an agency of Denmark to defend itself in a tax appeal in Danish

court involving Danish law. Goldstein certainly will not be heard to argue that the tax appeal is

vexatious, because Goldsteinitselfis the appellant. 63 To whatever extent Goldstein does not concede

that the third factor is met here,64 I hold that it is not. The Danish appeal poses no threat to this

Court's "in rem or quasi in rem jurisdiction," and there is no indication that the Danish tax court is

likely to enjoin this proceeding. 65

                On the fourth factor, Goldstein has not argued that any equitable considerations would

be prejudiced by the continuation of the tax appeal other than its desire to be free from the cost of

litigation. That consideration is weighed appropriately under factor five, which also is of no help

to Goldstein. While it always is true that multiple suits create inconvenience and expense, and it is

possible (though no evidence so suggests at this time) that the two suits will result in a race to

judgment, the ubiquity of these factors means that they are rarely, if ever, determinative under China




        63

                Goldstein focuses on the fact that the appeal is from SKAT' s determination letters finding
                that Goldstein was required to return the eight refunds. These letters are not a parallel
                foreign action that Goldstein is seeking to enjoin. And in any case, "parallel proceedings
                are ordinarily tolerable." China Trade, 837 F .2d at 36.
        64

                See Goldstein Mem. 25 ("[Goldstein's] request for injunctive relief satisfies the five-factor
                test, as well. Every factor but the third is present here .... "). Despite this unambiguous
                concession, the following page of Goldstein's brief argues that the third factor is not present
                here. See id. at 26. Goldstein's arguments on this point are unpersuasive and do not
                grapple with the problems noted above.
        65

                CJ China Trade, 837 F.3d at 36-37 (holding the third factor was not met when there was
                no threat that a foreign court would enjoin the federal district court or prevent it from
                exercising its jurisdiction).
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Trade. 66 Goldstein has failed to demonstrate that they create any special urgency here.



        B.      Declaratory Judgment

                Count 1 asks for a declaratory judgment stating that "this Comt' s decisions in this

action arising out of the transactions set forth in the Complaint are binding on SKAT in all

jurisdictions and venues [in the world] ." 67 This claim fails for at least three reasons.

                First, Goldstein lacks Article III standing. Federal courts "must be alert to avoid

imposition upon their jurisdiction through obtaining futile or premature interventions, particularly

where a ruling is sought that would reach far beyond the particular case."68 For this reason, a dispute

giving rise to a request for declaratory relief"must not be nebulous or contingent[,] but must have

taken on fixed and final shape so that a court can see what legal issues it is deciding, what effect its

decision will have on the adversaries, and that some useful purpose to be achieved in deciding

them." 69 The injury Goldstein wishes to avoid is contingent upon foreign courts, primarily in actions

        66

                See id. at 36 (finding that because "vexatiousness" and an expensive "race to judgment"
                "are likely to be present whenever parallel actions are proceeding concurrently, an anti-suit
                injunction grounded on these additional factors alone would tend to undermine the policy
                that allows parallel proceedings to continue and disfavors anti-suit injunctions"); cf, e.g.,
                Renegotiation Bd. v. Bannercraft Clothing Co., 415 U.S. 1, 24 (1974) ("Mere litigation
                expense, even substantial and unrecoupable cost, does not constitute irreparable injury.").
        67

                Counterclaim ,r 79. The heading of Count 1- though none of the allegations that fol1ow
                - asks also that the declaration "estop" SKAT from pursuing relief in other courts. This
                would not be a declaration of rights, but an ant-suit injunction no different than that
                demanded under Count 2. I reject it for the reasons explained above.
        68

                Jenkins v. United States, 386 F.3d 415, 417-18 (2d Cir. 2004) (brackets and ellipsis
                omitted) (quotingPub. Serv. Comm'n ofUtahv. WycoffCo., 344 U.S. 237,243 (1952)).
        69

                Id. (quoting Wycoff, 344 U.S. at 244).
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not yet filed, issuing judgments that conflict with judgments that this Court may or may not issue.70

This is far to speculative to warrant declaratory relief. Much for that reason, Goldstein has not

demonstrated that a declaration would serve any useful purpose at this tirne.71

                Second, Goldstein has not asserted a right of action entitling it to declaratory relief.

The Declaratory Judgment Act ("DJA") 72 is "procedural only" and "gives a district court the

discretion to 'declare the legal rights and other legal relations of any interested party seeking such

a declaration. ,,,73 But this "discretion does not extend to the declaration of rights that do not exist

under law."74 This is because a declaratory judgment is a remedy, not aright, and the DJA "does not

create an independent cause of action."75 A district court does not have the discretion to issue a




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                Counterclaim ,i 79.
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               SKAT states in a heading in its opposition memorandum that Goldstein lacks standing to
               pursue its declaratory and injunctive relief claims, but the entire analysis that follows
               focuses on standing to seek declaratory judgments. See SKAT Mem. 8-11. The Second
               Circuit has not explained howto assess standing where a party seeks an anti-suit injunction,
               although it is at least possible to infer that China Trade's two threshold factors to some
               degree overlap with the standing inquiry. Whatever the case, I decline to reach this issue
               because there are many other reasons for dismissing the anti-suit injunction claim.
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               28 U.S.C. §§ 2201-2202.
       73
               Chevron, 667 F.3d at 244 (quoting 28 U.S.C. § 220l(a)).
       74
               Id
       75
               Id (citation omitted); see also Skelly Oil Co. v. Phillips Petroleum Co., 339 U.S. 667,671
               (1950) ("Congress enlarged the range ofremedies available in the federal com1s but did not
               extend their jurisdiction.")).
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declaratory judgment unless it "relies on a valid legal predicate," i.e., a right of action. 76

                Goldstein has not identified - or even attempted to identify- a "valid legal predicate"

for its claim. 77 Even if it had, none of the counterclaims could serve as a valid predicate, as none of

them have survived the motion to dismiss. 78

                Third, even ifl had the authority to exercise jurisdiction over a claim for declarato1y

relief, I would exercise my "broad discretion" not to do so. 79 In weighing whether to order

declaratory relief, courts must ask "(1) whether the judgment will serve a useful purpose in clarifying

or settling the legal issues involved; and (2) whether a judgment would finalize the controversy and




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                Chevron, 667 F.3d at 244.
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                Goldstein does not purport to rely on its similar claim for injunctive relief. However, it
                implies - though it does not argue - that Counts 3 and 4 perhaps create the needed
                predicate. See Goldstein Mem. 15 (arguing Count 1 should move forward "regardless of
                whether [Counts 3 and 4] survive," but not otherwise asserting that these claims are
                predicates). It would distort the DJA to declare under the facts of this case that SKAT is
                bound by this Court's rulings in all jurisdictions worldwide as a remedy for promissory
                estoppel or "recovery of denied claims." But as Goldstein has not advanced this theory, I
                decline to consider it.
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                The Second Circuit's Chevron opinion does not explain whether a "valid legal predicate"
                must be asserted in the complaint of the party seeking a declaratory judgment. At least one
                court in this circuit has suggested that it must be. See Spiteri v. Russo, No. 12-cv-2780
                (MKB) (RLM), 2013 WL 4806960, at *19 n.30 (E.D.N.Y. Sept. 7, 2013) ("A plaintiff
                cannot maintain a claim for a declaratory judgment where the underlying substantive claim
                has been dismissed .... "), aff'd sub nom. Spiteri v. Camacho, 622 F. App'x 9 (2d Cir.
                2015). Because Goldstein's claim fails for several other reasons, and Goldstein has not
                argued that either a hypothetical cause of action not stated in its counterclaim or one of
                SKAT' s fraud claims could support its claim for declaratory relief, I need not reach this
                issue here.
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                Dow Jones & Co. v. Harrods Ltd, 346 F.3d 357,359 (2d Cir. 2003).
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offer relief from uncertainty." 80 Some courts ask also "(1) whether the proposed remedy is being

used merely for 'procedural fencing' or a 'race to res judicata'; (2) whether the use of a declaratory

judgment would increase friction between sovereign legal systems or improperly encroach on the

domain of a state or foreign court; and (3) whether there is a better or more effective remedy." 81

               It is not clear how the judgment would clarify or settle any relevant legal issues.

Goldstein confusingly argues that the declaration "would clarify that SKAT ... intend[s] to abide

by this Court's decisions." 82 Nothing in the counterclaim permits an inference that there is any risk

whatsoever that SKAT will fail to do that. What Goldstein really wants is a declaration that SKAT

will not be able to rely on a favorable foreign judgment if it does not prevail on its fraud claims in

this Court. 83 As noted above, this problem is conjectural. For this same reason, the declaration

would not finally resolve the controversy between SKAT and Goldstein.

               The other three factors all point in the same direction. The entire purpose of the

declaration is "a race to res judicata" because Goldstein would use it to preclude SKAT from trying

to enforce a favorable foreign judgment. The declaration would increase friction between the United

States and Denmark by precluding a Danish agency from relying on a Danish judgment based on

Danish law. And there is a far better remedy available to Goldstein: waiting for a concrete dispute


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               Id.
       81

               Id. at 359-60 (endorsing these factors); see also Chevron, 667 F.3d at 245 (repeating and
               further endorsing these factors).
       82

               Goldstein Mem. 17.
       83

               See id. (asserting that the risk of SKAT's noncompliance is significant because U.S.
               judgments do not have preclusive effect in Denmark).
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involving conflicting judgments and acting at that time.



                                           Conclusion

               Plaintiffs motion to dismiss [18-md-2865, DI-113] is granted.

               SO ORDERED.

Dated:         January 23, 2020




                                                               Lewis A. Kapla
                                                           United States Distric
